 Case: 2:20-cv-04852-JLG-KAJ Doc #: 24 Filed: 10/09/20 Page: 1 of 2 PAGEID #: 250




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


KBW INVESTMENT PROPERTIES,
LLC                                                    Case No. 2:20-cv-4852

                         Plaintiff,                    Judge James L. Graham
          v.
                                                       Magistrate Judge Kimberly A. Jolson
SECRETARY ALEX AZAR, et al.,

                         Defendants.

                                              ORDER

          On October 9, 2020, Plaintiff and Defendants U.S. Department of Health and Human

Services; Alex M. Azar II, in his official capacity as Secretary of Health and Human Services; the

Centers for Disease Control and Prevention (“CDC”); and Nina B. Witkofsky, in her official

capacity as Acting Chief of Staff of the CDC (collectively, the “Federal Defendants”) stipulated

to dismissal of Plaintiff’s claims against the Federal Defendants with prejudice pursuant to Federal

Rule of Civil Procedure 41(a)(1)(A)(ii). (ECF No. 22.)

          On October 9, 2020, Plaintiff and Defendant Franklin County Municipal Court also

stipulated to dismissal of Plaintiff’s claims pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii). (ECF No. 23.)

          Plaintiff’s only remaining claim is Count IX of its Complaint against tenant, Defendant

Cassandra King entitled, “Violation of 28 U.S.C. § 1746 and perjury against King for lying,

misleading, and or omitting information on CDC declaration/certification.” (Compl., ECF No. 1

at 26.)

          The Court sua sponte raises the issue of whether Plaintiff’s claim against Ms. King should

be dismissed for lack of subject matter jurisdiction. A district court’s federal question jurisdiction

                                                  1
 Case: 2:20-cv-04852-JLG-KAJ Doc #: 24 Filed: 10/09/20 Page: 2 of 2 PAGEID #: 251




exists where the federal law creates the cause of action or where the plaintiff’s right to relief

necessarily depends on resolution of a substantial question of federal law. Christianson v. Colt

Indus. Operating Corp., 486 U.S. 800, 808 (1988). The question here is whether 28 U.S.C. § 1746

gives rise to a civil cause of action. Undoubtedly, it does not.

        As the Seventh Circuit explains, “§ 1746 merely makes unsworn statements admissible if

they are signed under penalty of perjury, and it does not establish a private right of action against

individuals accused of committing perjury.” Jagla v. Lasalle Bank, 253 Fed. App’x 597, 599 (7th

Cir. 2007). Accordingly, since there is no private cause of action for a violation of 28 U.S.C. §

1746, Plaintiff fails to state a claim “arising under the Constitution, laws, or treaties of the United

States.” 28 U.S.C. § 1331. As Plaintiff fails to raise a federal question establishing subject matter

jurisdiction, Count IX against Ms. King must be DISMISSED for lack of subject matter

jurisdiction.

        IT IS SO ORDERED.



                                                               /s/ James L. Graham
                                                               JAMES L. GRAHAM
                                                               United States District Judge

DATE: October 9, 2020




                                                  2
